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                                                   UNITED STATES DISTRICT COURT

                                                    MIDDLE DISTRICT OF LOUISIANA



    JOSHUA DAVIS                                                                   CIVIL ACTION

    VERSUS
                                                                                   18-614-SDD-RLB
    LOUISIANA STATE UNIVERSITY
    AND A&M COLLEGE, ET AL.


                                                               ORDER

              The pro se plaintiff filed this action pursuant to 42 U.S.C. § 1983 against Louisiana

State University and A&M College, F. King Alexander, individually and in his official

capacity as LSU President, Mari Fuentes-Martin, individually and in her official capacity

as LSU Dean of Students, Katie McGee Barras, individually and in her official capacity,

the Louisiana State University Police Department, Kevin Scott, individually and in his

official capacity as an officer of the LSU Police Department, and Haley Logan Robert

(collectively “Defendants”) alleging violations of state law and his federal constitutional

rights. This suit was originally filed in the 19th Judicial District Court in the Parish of East

Baton Rouge, and Defendants removed this matter on June 7, 2018.1

              On June 14, 2018, Defendants filed a Motion to Dismiss pursuant to Rule 12(b)(6)

of the Federal Rules of Civil Procedure for failure to state a claim upon which relief may

be granted.2 Apparently aware that he was required to file an opposition, Plaintiff filed a

document that, based on the content of the document, the Clerk of Court docketed as a

                                                            
1
    Rec. Doc. No. 1.
2
    Rec. Doc. No. 2.  
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Motion to Appoint Counsel/MEMORANDUM in Opposition.3 In this document, Plaintiff

requested the Court appoint counsel to represent him in this case, and Plaintiff asked the

Court not to dismiss his case because he asserts the Defendants have broken the law

and knowingly violated his constitutional rights. Plaintiff did not assert any legal authority

or advance any argument as to specific claims to support his opposition to the

Defendants’ motion.

              Magistrate Judge Bourgeois performed the appropriate analysis and found that

Plaintiff was not entitled to the appointment of counsel in this civil case; thus, Plaintiff’s

Motion to Appoint Counsel was denied on August 27, 2018. To date, Plaintiff has failed

to properly oppose Defendants’ motion.

              Ordinarily, the Court would grant Defendants’ motion pursuant to Local Rule 7(f)

and based on the apparent merits of Defendants’ motion; however, the Court

acknowledges that “pro se pleadings are held to less stringent standards than pleadings

drafted by lawyers,”4 and “pro se pleadings must be treated liberally.”5 Nevertheless,

Plaintiff is advised that, “a pro se litigant is not ‘exempt ... from compliance with the

relevant rules of procedural and substantive law.’6 A pro se litigant is not entitled to

greater rights than would be a litigant represented by a lawyer.”7

              Plaintiff’s Petition demonstrates that he is capable of articulating his claims and is

familiar with both the state and federal laws under which he is bringing this suit. As such,


                                                            
3
  Rec. Doc. No. 3.
4
  Haines v. Kerner, 404 U.S. 519, 520–21 (1972).
5
  U.S. v. Robinson, 78 F.3d 172, 174 (5th Cir.1996); Priester v. Lowndes County, 354 F.3d 414, 418 (5th
Cir. 2004).
6
  NCO Financial Systems, Inc. v. Harper–Horsley, No.07–4247, 2008 WL 2277843 at *3 (E.D.La. May 29,
2008), quoting Birl v. Estelle, 660 F.2d 592, 593 (5th Cir.1981).
7
  Id., citing Birl, 660 F.2d at 593. 
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Plaintiff will be given a final opportunity to oppose Defendants’ motion in light of the

Court’s comments herein and in compliance with the Federal Rules of Civil Procedure,

the Local Rules of the Middle District, and applicable jurisprudence.

              Accordingly, Plaintiff shall have until November 12, 2018 to submit a memorandum

in opposition to Defendants’ motion. No extensions of time will be considered unless

warranted by exceptional circumstances.8                             Plaintiff’s failure to properly oppose

Defendants’ motion shall result in the dismissal of this case with prejudice.

              IT IS SO ORDERED.

              Baton Rouge, Louisiana, this 12th day of October, 2018.


                                                                    S
                                                               ____________________________________
                                                               SHELLY D. DICK
                                                               CHIEF DISTRICT JUDGE
                                                               MIDDLE DISTRICT OF LOUISIANA           




                                                            
8
 Matters of general inconvenience (i.e., the demands of school and/or work, vacations, and minor illnesses)
will not constitute exceptional circumstances.
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